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(                               UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS

                                       CASE No . 4:19-CR-137-0

    UNITED ST ATES OF AMERICA,

            Plaintiff,                                    FILED IN CAMERA, EXP ARTE,
                                                          AND UNDER SEAL WITH THE
    V.                                                    CLASSIFIED INFORMATION
                                                          SECURITY OFFICER OR
    MICHAEL KYLE SEWELL                                   DESIGNEE

            Defendant

                                       PROTECTIVE ORDER


            This matter is before the Court on the government's Ex Parte, In Camera, Under Seal

    Motion for a Protective Order Pursuant to Section 4 of the Classified Information Procedures

    Act and Rule 16(d)(l) of the Federal Rules of Criminal Procedure ("government's Motion for

    a Protective Order"). By its motion, the government requested that the Court, pursuant to

    CIPA § 4, Fed. R. Crim. P. 16(d)(l) and the applicable law: (1) conduct an in camera and ex

    parte review of the government's submissions; (2) find that the classified information the

    government seeks to delete is not discoverable under the traditional rules of discovery, or is

    not "relevant and helpful" to the defense, and that its disclosure would reasonably be expected

    to cause serious damage to National Security; and (3) sign the proposed order, ordering that

    the entire text of the government's motion, all the accompanying exhibits and any classified

    order issued by the Court shall not be disclosed to the defense or the public and shall be

    sealed and preserved in the records of the Court to be made available to the appellate court in

    the event of an appeal.

           The Court is aware of and has reviewed the applicable law under Federal Rule of
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(   Criminal Procedure 16, Brady v. Maryland, 373 U.S . 83 (1963), Giglio v. United States, 405

    U.S . 150 (1972), and their progeny. Having considered that Jaw, the government's motion,

    and the declaration and exhibits filed therewith, the Court GRANTS the government's

    Motion for a Protective Order in its entirety.

            The Court finds that the government's Motion for a Protective Order was properly

    filed ex parte, in camera, for this Court ' s review, pursuant to CIPA § 4 and Fed. R. Crim. P.

    16(d)(l ). The Court has conducted an ex parte, in camera review of the government ' s

    classified motion, memorandum of law, classified declaration of a United States government

    official, and certain documents attached to the government's Motion.

            On the basis of the Court' s independent review of the information and the arguments

    set forth in the government' s Motion for a Protective Order, the Court finds that the classified

    information referenced in the government's motion implicates the government' s national

    security and classified information privilege because the information is properly classified,

    extremely sensitive, and its disclosure could cause serious damage to the national security of

    the United States.

            The Court further finds that none of the information the government seeks to delete is

    exculpatory within the meaning of Brady v. Maryland and its progeny, and need not be

    produced to the defense in any format.

           Accordingly, it is:

                   ORDERED that the government's Motion for a Protective Order prohibiting

    the discovery of certain classified information is hereby granted; and it is further

                   ORDERED that the government's submission is hereby sealed, and shall

    remain preserved in the custody of the Classified Information Security Officer, in accordance
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(   with established court security procedures, until further order of this Court:

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